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                    IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF MISSOURI (KANSAS CITY)

In re:                                                  )
                                                        )
Interstate Underground Warehouse and                    )    Case No. 21-40834
Industrial Park, Inc.,                                  )
                                                        )    Chapter 11
                               Debtor.                  )

         CONSENT ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

         Eric Schulte and Kevin Kraft (collectively, the “Movants”) filed their Motion for Relief

from the Automatic Stay (the “Motion”) (Doc. 97) to allow them to pursue their State Court

Litigation. The Debtor filed the Debtor’s Response to the Motion for Relief from the Automatic

Stay (Doc. 146) (the “Response”), and the Movants and the Debtor have subsequently reached an

agreement on the Motion and the Response, as contained herein. Upon consideration of the

pleadings and the record as a whole, it is therefore,

         ORDERED, ADJUDGED AND DECREED as follows:

         1.     That the Motion be, and is hereby GRANTED as set forth herein.

         2.     That pursuant to Section 362(a) of the Bankruptcy Code, relief from stay is granted

for Movants to prosecute the State Court Litigation to judgment or other resolution.

         3.     The automatic stay is modified to permit Movants to (a) continue the State Court

Litigation against the Debtor to final judgment or other disposition as to the Debtor and non-debtor

defendants and (b) execute, levy, and collect upon any judgment rendered in the State Court

Litigation from non-debtor defendants, non-debtor sources, or applicable insurance policies, if any,

and not from the Debtor, its estate, its successors, its property, except that the Movants reserve

their rights to file a proof of claim and/or amend their proof of claim to assert any alleged

deficiency balance after recovery, if any, from insurance proceeds or non-debtor assets. Nothing

herein shall be construed as an allowance of any proof of claim or claim amendment that Movants


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file or have filed in this case, and the Debtor reserves all rights to object to such proof of claim

and/or claim amendment and seek disallowance thereof, and the Debtor’s defenses are expressly

reserved.

        4.     This Order has no impact on any rights of the parties or any insurers to assert or

dispute the applicability and enforceability of any allegedly applicable insurance policies and any

rights are reserved with respect thereto.

        5.     The Debtor does not stipulate, agree, represent, or warrant that the Debtor is liable

for or will fund any amounts in connection with the State Court Litigation. Any payments made

on account of claims and/or damages alleged and/or asserted in the State Court Litigation are

subject to the terms, conditions, exclusions, and limitations contained in any applicable insurance

policies.

        6.     Nothing herein (a) alters, amends or otherwise modifies (i) the terms, conditions,

exclusions, and limitations found in any applicable insurance policy or of any agreements related

thereto, (b) relieves the Debtor of any of its obligations under any applicable insurance policy or

of any agreements related thereto; (c) creates or permits a direct right of action for Movants against

any applicable insurers unless otherwise provide for by applicable state law, (d) precludes or limits,

in any way, any insurer’s rights or ability to contest and/or litigate the existence, primacy, and/or

scope of available coverage under the applicable policy; (e) constitutes a determination or

admission that coverage exists with respect to any claims; or (f) relieves Movants from their

obligation, if any, to file a proof of claim. For the avoidance of doubt, the automatic stay is lifted,

if and to the extent applicable, to allow, but not to require, the Debtors’ insurers to administer,

handle, defend, settle, and/or pay Movants’ claims (and any costs related thereto) subject to and in

accordance with the terms of any applicable insurance policies and related agreements.



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           7.    Nothing contained in this Order shall be deemed a waiver of the rights or remedies

of Movants with respect to any available insurance coverage or recovery from any non-debtor

parties.

           8.    By entering into this Consent Order, no party is waiving nor will be deemed to have

waived any available claims or defenses, including at law, equity, or otherwise with respect to the

State Court Litigation, except as otherwise provided in this Order.

           9.    Neither this Order nor any terms contained herein shall be offered or received in

evidence or in any way referred to in any legal action or administrative proceeding among or

between the parties other than as may be necessary to do the following: (a) obtain approval of or

to enforce this Order, (b) seek damages or injunctive relief in connection with any violation(s) of

the terms of this Order, or (c) inform the State Court that the automatic stay is being modified for

the sole, limited purpose of allowing Movants and parties to the State Court Litigation to effectuate

the relief set forth herein.

           10.   That this Order is effective immediately upon entry and not stayed per Rule

4001(1)(3).

           11.   Except as otherwise contained herein, that this Order shall not be automatically

modified or affected by any subsequent development in the case including, but not limited to,

dismissal, conversion, appointment of a trustee, or confirmation of any plan of reorganization, and

the terms of this Order shall survive and continue following dismissal, conversion, appointment of

a trustee, or confirmation of any plan of reorganization. However, the Debtor and the Movants

reserve all rights to seek a Court order amending or modify the order.

           12.   The Court retains exclusive jurisdiction to resolve any dispute arising from or

related to the interpretation or enforcement of this Order.



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                                         /s/ Dennis R. Dow
Dated: October 6, 2021                   THE HONORABLE DENNIS R. DOW
                                         U. S. BANKRUPTCY COURT JUDGE


Submitted by:

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